                      EXHIBIT C




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                                     Our sleek and chic (no strings attached) design flaunts the
                                     familiar W.I.N.O.S.® sense of style. Glovie™ are the wine
                                     glass sleeve that fits like a glove, made with high-quality
                                     stretchable neoprene. And, the curved cutout on our patented
                                     pucker protector keeps your lipstick on your lips.




                      GLOVIE™ STARTER KIT
  Each Glovie™ is individually packaged in a zebra print gift box with a drink
     recipe from the “W.I.N.O.S.® Women In Need Of Spirits” cookbook.
          All sassy sayings are pre-selected. No substitutions please.

                                                                        80000
                                                                      Starter kit




         Includes an assortment of 36 Glovies™ in
        our most popular sassy sayings, 2 each of:                                   ...plus 6 Glovies™ on wine glasses:
84001   Birthday Girl     84009    Liquid Sanity      84016    Tipsy Tease                     85001   Birthday Girl
84004   Grape Nut         84011    Menopausal Milk    84017    Wild Woman                      84009   Liquid Sanity
84005   Hers              84012    Mommy Juice        84018    Wine & Whine                    85012   Mommy Juice
84006   His               84013    My Medicine        84019    Bride                           85015   Sassy Sipper
84007   Jungle Juice      84014    Princess           84020    Bridesmaid                      85016   Tipsy Tease
84008   Liquid Courage    84015    Sassy Sipper       84024    Sanity Saver                    85018   Wine & Whine


                                   www.WINOSHAVEFUN.com
               Toll-Free: 888.488.WINOS (9466) • Phone: 828.295.9125 Fax: 828.295.9129

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                                                GLOVIE™
                               Each Glovie™ is individually packaged in a zebra print gift box with a
                             drink recipe from the “W.I.N.O.S.® Women In Need Of Spirits” cookbook.
                        Glovie™ fits most mid-sized wine glasses. Chubby Glovie™ fits larger red wine glasses.
                                             Minimum order of 6 each, 24 pieces total.




           Glovie™ on a card                              Glovie™ on a glass                            Chubby Glovie™ on a card




84000 / 85000 84001 / 85001 84002 / 85002 84003 / 85003 84004 / 85004 84005 / 85005
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86000                 86001                  86002                   86003                  86004                 86005
 Chubby on a card     Chubby on a card        Chubby on a card       Chubby on a card        Chubby on a card     Chubby on a card




84006 / 85006 84007 / 85007 84008 / 85008 84009 / 85009 84010 / 85010 84011 / 85011
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86006                86007                   86008                   86009                  86010                86011
 Chubby on a card     Chubby on a card       Chubby on a card        Chubby on a card        Chubby on a card     Chubby on a card




84012 / 85012 84013 / 85013 84014 / 85014 84015 / 85015 84016 / 85016 84017 / 85017
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86012                86013                   86014                   86015                  86016                86017
 Chubby on a card     Chubby on a card       Chubby on a card        Chubby on a card        Chubby on a card     Chubby on a card

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